"ROB» 11 Case 2:94-cr-20083-SH|\/| Document 83 Filed 07/22/05 Page 1 of 2 Page|D 6

 

(Rev. 3/88)
UNITED STATES DISTRICT COURT _
HLED BY ,____ D.C.
for
OSJUL 22 PH l¢ ill
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION wills M‘ mo
mith us earner cna
wm O{ 'i"-i, Fi“M-MS
U.S.A. VS. AARON DALE THOMAS Dockct No. MBM

1574 Patterson Memphis, TN 38111
Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER II PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Aaron Dale Thomas who was placed on supervision by the
Honorable Odell Horton sitting in the Court at Memphis, TN on the M day of J_ul_ya MQ who fixed the period of
supervision at three (3) years*, and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

The defendant shall pay $8,786.00 restitution ($8,209.00 balance).

The defendant shall participate in mental health treatment as appropriate

The defendant shall participate in alcohol/drug testing and treatment as deemed appropriate

*Term of Supervised Release began June 17, 2005.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Mr. Thomas was convicted of Sexual Battery in January 1986 as indicated in the Presentence Report. In order to best
supervise Mr. Thomas during his term of Supervised Release and to better protect the community, the United States
Probation Oflice recommends that a special condition be added to Mr. Thornas’ Supervised Release requiring sex
offender counseling The defendant has declined to sign a Probation Form 49, Waiver of Hearing for Modification
of Special Conditions.

The United States Probation Office recommends the following special condition:

The defendant shall participate as directed in a program of mental health treatment, including a sex offender treatment
program, approved by the probation officer. The defendant shall abide by the rules, requirements, and conditions
of the treatment program, which may include submitting to polygraph or plethysmograph testing, to aid in the
treatment and supervision process

PRAYING THAT THE COURT WlLL ORDER a Sumrnons be issued for Mr. Thomas to appear before the Court
to show cause as to why his conditions should not be modified

 

0RDER oF coUR'r Respectruuy,
/'\/ f
Con§idered and md this "' ‘*' bday LA, 957< M m
of 20_°__ and ordered filed and Freddie McMaster 11

made a part o:Wt in the above case. Probation Offlcer

Place Mern his Tennessee
United States District Judge Date J_n_n_e 30. 2005

 

 

This doctment entered on the docket sheet in compliance §

with ama 55 and/or azre) Fach on _`_7£_\§.2;0§__

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 83 in
case 2:94-CR-20083 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

